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     Telephone: (916) 422-4022
 3
     Attorney for Nadeem Khan
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT

 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                )
 9   UNITED STATES OF AMERICA,                  )   Case No.: 2:12-cr-00185-TLN
                                                )
10                  Plaintiff,                  )
                                                )   STIPULATION AND ORDER FOR
11       vs.                                    )   CONTINUANCE OF JUDGMENT AND
     NADEEM KHAN,                               )   SENTENCING
12                                              )
                    Defendant.                  )
13                                              )
14
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

16   Judgment and Sentencing scheduled for August 18, 2016, at 9:30 a.m. is continued to

17   November 17, 2016, at 9:30 a.m. in the same courtroom. The continuance is being

18   requested because defense counsel needs additional time to prepare for sentencing.

19   Probation has also been informed of the continuance request. Jason Hitt, Assistant

20   United States Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to this

21   continuance.

22
23   IT IS SO STIPULATED.

24
     DATED: August 9, 2016                           By:    /s/ Thomas A. Johnson
25                                                          THOMAS A. JOHNSON
                                                            Attorney for Nadeem Khan
26
27
     DATED: August 9, 2016                                  PHILLIP A. TALBERT
28                                                          Acting United States Attorney



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                                              By:    /s/ Thomas A. Johnson for
 1                                                  JASON HITT
                                                    Assistant United States Attorney
 2
     IT IS SO ORDERED.
 3
 4
     DATED: August 9, 2016
 5
 6                                                    Troy L. Nunley
                                                      United States District Judge
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